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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
                       v.                     )
                                              )              Cr. No. 21-cr-00083 (TNM)
BRANDON FELLOWS,                              )
                                              )
            Defendant.                        )
____________________________________

                   MOTION TO WITHDRAW AS STANDBY COUNSEL

       Undersigned counsel for pro se defendant, Brandon Fellows, respectfully requests that

this Court grant leave for her withdrawal, and requests that new standby counsel be appointed.

As grounds, undersigned states:

       1.       On January 15, 2021, Mr. Fellows was charged with criminal acts related to the

                January 6 breach of the U.S. Capitol Building. See ECF No. 1.

       2.       On January 16, 2021, Mr. Fellows was arrested. See ECF No. 5.

       3.       On February 3, 2021 Mr. Fellows had his initial appearance in the U.S. District

                Court for the District of Columbia. At that initial appearance, Magistrate

                Meriweather granted his motion for counsel and appointed undersigned to

                represent him. See Minute Entry (Feb. 3, 2021).

       4.       On February 5, 2021, Mr. Fellows was indicted by a federal grand jury for four

                (4) misdemeanors and a felony violation under 18 U.S.C. §§ 1512(c)(2) and 2 for

                Obstruction of an Official Proceeding and Aiding and Abetting the same. See

                ECF No. 7.

       5.       Following a hearing on the government’s third motion to revoke his pretrial

                release (ECF No. 30), this Court ordered that Mr. Fellows be committed to the
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                custody of the U.S. Marshals Service pending resolution of his case. See Minute

                Entry (Jul. 15, 2021).

       6.       On September 7, 2021, Mr. Fellows motioned the Court to represent himself.

       7.       On September 23, 2021, the Court granted Mr. Fellows’s motion to represent

                himself and appointed undersigned as Mr. Fellows’s standby counsel. See Minute

                Entry.

       8.       On October 12, 2021, Mr. Fellows, acting as his own counsel, made oral

                argument as to why the Court should release him from custody. During that

                hearing, Mr. Fellows attempted to call undersigned as a witness. Undersigned

                was not previously aware of Mr. Fellows’s intentions to do so. This Court denied

                Mr. Fellows’s motion for undersigned to testify.

       9.       On November 30, 2021, this Court held a status conference. At the conclusion of

                that hearing, Mr. Fellows directed undersigned to file documents to the Court’s

                Electronic Court Filing (ECF) system on his behalf.

       10.      On December 1, 2021 undersigned filed the requested documents to ECF pursuant

                to Mr. Fellows’s direction. See ECF No. 58-61.

       11.      As part of those filings, Mr. Fellows alleges that standby counsel is ineffective, as

                well as other allegations, which make standby counsel’s continuation in the case

                untenable. Id.

       WHEREFORE, it is respectfully requested that undersigned counsel be permitted to

withdraw as standby counsel for Defendant in this case, and that the Court order the appointment

of new counsel for Mr. Fellows.




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                                  Respectfully submitted,

                                  A.J. KRAMER
                                  FEDERAL PUBLIC DEFENDER

                                  ______/s/____________________
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